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                         IN THE UNITED STATES DISTRICT COURT FOR THE
                                 EASTERN DISTRICT OF VIRGINIA
                                     ALEXANDRIA DIVISION


   AMAZON.COM, INC and AMAZON                         )
   DATA SERVICES, INC.,                               )              Case No. 1:20cv484
                                                      )
                Plaintiffs,                           )           Hon. Rossie D. Alston, Jr.
                                                      )           Hon. Theresa Buchanan
   v.                                                 )
                                                      )
   WDC HOLDINGS LLC d/b/a                             )
   NORTHSTAR COMMERCIAL                               )
   PARTNERS, et al.,                                  )
                                                      )
                Defendants,
                                                      )      RESPONSE IN OPPOSITION TO
   ____________________________________               )        AMAZON’S MOTION FOR
                                                      )         PROTECTIVE ORDER
   800 HOYT LLC,                                      )
                                                      )
                Intervening Interpleader Plaintiff,   )
                                                      )
   v.                                                 )
                                                      )
   BRIAN WATSON, WDC HOLDING                          )
   LLC, et al.                                        )
                                                      )
                Interpleader Defendants.              )
                                                      )

            This motion represents the fifth time that Amazon seeks to block the deposition of its own

  employee in a case it brought through the filing of a 600-paragraph complaint with multiple claims.

  One of the claims involves standard-fare accusations that the Defendant, Carl Nelson, violated his

  employment contract. In turn, as is standard in employment cases, Mr. Nelson sought to depose an

  employee working within the Human Resources Department, specifically Beth Galetti, the current

  head of Amazon human resources (“HR”). Mr. Galetti succeeded Tony Galbato, the individual

  who signed both versions of the non-compete agreements at issue in this case (the 2012 version

  signed by Mr. Nelson, and the 2015 version signed by Mr. Kirschner), and presumably has been



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  the signatory on the non-compete agreements with Amazon employees since she succeeded Mr.

  Galbato. She is extremely familiar with Amazon’s understanding of both versions of the non-

  compete agreements at issue in this case, as well as the various employment polices Plaintiffs have

  regularly cited as integral to not only Amazon’s breach of employment contract claim against Mr.

  Nelson (Count VI), but its other claims as well. In other words, she has extremely relevant

  knowledge about Amazon’s practices involving the very employment policies and procedures that

  Amazon itself is bringing suit about.

            There is no valid basis to preclude her deposition, especially in a case where the defendant

  needs her testimony to defendant Amazon’s own claims involving the employment agreement. In

  myriad other cases, Amazon regularly submits declarations by its HR employees in support of its

  claims related to enforcement of the very same non-compete agreements at issue in this action.

  See, e.g., Amazon v. Moyer, 2:19-cv-1176-RSM (W.D. Wash.) (Doc. 30) (a case where Amazon

  sought to enforce the version of the non-compete agreement signed by Mr. Kirschner). That Mr.

  Nelson wishes to depose someone from Amazon’s HR department about the non-compete

  agreements and the Amazon employment policies should come as no surprise—it is standard

  operating procedure in employment related cases to conduct such discovery.

            The Court should not allow Amazon to block a basic aspect of discovery.

  A.        Amazon’s Burden

            Given the extremely high burden Amazon faces when it seeks to block a properly noticed

  deposition in its entirety, Amazon gives short shrift to that standard in its brief, only citing the

  general rules governing discovery and protective orders.

            “Discovery under the Federal Rules of Civil Procedure is broad in scope and freely

  permitted.” Carefirst of Md., Inc. v. Carefirst Pregnancy Ctrs., Inc., 334 F.3d 390, 402 (4th Cir.



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  2003). This includes depositions; Rule 30(a)(1) clearly states that “[a] party may, by oral questions,

  depose any person, including a party, without leave of court....”

            On the contrary, “it is very unusual for a court to prohibit the taking of a deposition

  altogether and absent extraordinary circumstances, such an order would likely be in error.” Big

  Ernie’s, Inc., 2009 WL 3166839, at *1 (quoting S.E.C. v. Dowdell, No. CIV.A.3:01CV00116,

  2002 WL 1969664, at *4 (W.D. Va. Aug. 21, 2002)); Givens v. Smith, No. 5:12CV145 STAMP,

  2014 WL 1393181, at *8 (N.D. W. Va. Apr. 9, 2014) (collecting cases). This is because “motions

  that seek to preclude the taking of a deposition are regarded with disfavor.” W.W. McDonald Land,

  Co. v. EQT Prod. Co., No. 2:11-CV-0418, 2013 WL 2151233, at *2 (S.D.W. Va. May 16, 2013).

  In this context, protective order pursuant to Rule 26(c), “should be sparingly used and cautiously

  granted.” Big Ernie’s, Inc. v. United States, No. 1:09-CV00122(LO/IDD), 2009 WL 3166839, at

  *1 (E.D. Va. Aug. 13, 2009) (quoting Medlin v. Andrew, 113 F.R.D. 650, 652 (M.D.N.C. 1987)).

            Amazon does not identify any extraordinary circumstances to support its motion. Instead,

  it makes two decidedly non-extraordinary arguments:

            First: A purported lack of “proportionality” for a single fact deposition. But this assertion

  is easy to rebut. In this case, Amazon claims it is entitled to over $50 million dollars in damages

  from Mr. Nelson and seeks to place extremely broad restrictions on his ability to work in the future.

  And the Company’s own actions demonstrate the wide scope of discovery. In the last week of

  discovery, it has sent deposition notices to Mr. Nelson’s wife and two young lawyers who work

  with Mr. Atherton (in an apparent attempt to dig into the legal research and assignments those

  associates did for him connected with his legal advice to Mr. Nelson and others). Smart Decl. ¶ 4.

            Second: Amazon claims that Ms. Galetti’s testimony would be duplicative of the testimony

  Amazon agreed to provide in its 30(b)(6) deposition after Mr. Nelson noticed Ms. Galetti’s



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  30(b)(1) deposition. But this is simply not true; Mr. Nelson seeks different testimony from Ms.

  Galetti than it seeks (or Amazon has agreed to provide) through the 30(b)(6). Nor is the alleged

  duplicity a valid reason to preclude a 30(b)(1) deposition.1 That a limited subset of information

  about the polices and non-compete agreement might be covered at the forthcoming 30(b)(6)

  deposition by a hand-picked designee (and presumably non-HR employee) whose knowledge will

  be limited solely to what they are told through counsel’s preparation of the witness, does not justify

  barring an individual deposition in its entirety.

            Courts have routinely declined to bar a deposition in its entirety based on these non-

  extraordinary arguments, and this Court should do the same. Amazon deserves no special treatment

  here.

  B.        Even if a basic proportionality argument could satisfy the extraordinary
            circumstances test to preclude an entire deposition, that test is not met here.

            As stated above, a basic proportionality argument does not meet the extraordinary

  circumstances typically required to bar a deposition in its entirety. Big Ernie’s, Inc., 2009 WL

  3166839, at *1; Givens, 2014 WL 1393181, at *8. As explained in S.E.C. v. Dowdell, 2002 WL

  1969664 (W.D. Va. Aug. 21, 2002), “in the few cases in which a protective order has been granted,

  it clearly appeared that the information sought was wholly irrelevant and could have no possible

  bearing on the issue.” Id. at *3. As shown in more detail below, the discovery of an HR officer is


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              Amazon also implies Ms. Galetti may lack knowledge of the contracts at issue in this case. First, this is
  untrue. As the successor to Tony Galbato, the individual who signed both versions of the non-compete agreements at
  issue in this case (the 2012 version signed by Mr. Nelson, and the 2015 version signed by Mr. Kirschner), Ms. Galetti
  presumably has been the signatory on the non-compete agreements with Amazon ‘employees since she succeeded Mr.
  Galbato. In her role as head of Amazon HR she also would necessarily be extremely familiar with Amazon’s
  understanding of both versions of the non-compete agreements at issue in this case, as well as the various employment
  polices Amazon attempts to enforce against Defendants. Second, notwithstanding dubious nature of an assertion that
  Amazon’s head of HR is not actually familiar with the terms of its standard non-compete agreements or its internal
  code of employee conduct, Mr. Nelson is “entitled to test [her] lack of knowledge.” Scotch Whiskey Ass’n v. Majestic
  Distilling Co., No. HAR-88-808, 1988 WL 1091943, at *6 (D. Md. Nov. 30, 1988) (citing Less v. Taber Instrument
  Corp., 53 F.R.D. 645, 647 (W.D.N.Y. 1971)).




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  certainly relevant to issues in the case where Amazon bases several of its claims on alleged

  breaches of non-compete agreements and internal Amazon employee policies.

            In any event, even if the proportionality argument could prevail, Amazon makes only

  general claims that the discovery sought—the deposition of a single HR officer, is not proportional

  to the needs of the case. It does not cite a single case in support of its argument, and it only cites

  two of the several factors to be considered in the proportionality analysis. Amazon ignores “the

  importance of the issues at stake in the action,” “the amount in controversy,” “the parties’ relative

  access to relevant information,” and “the parties’ resources” in its argument. See Fed. R. Civ. P.

  26(b)(1). It is obvious why.

            Amazon is seeking over $50 million dollars from Mr. Nelson and the other defendants. As

  one of the largest companies in the world its resources are essentially unlimited. It is the only party

  with access to the information being sought in the deposition.

            And as to the importance of the issues at stake in the action, again Amazon is seeking an

  immense amount of money from the individual defendants. Amazon also seeks to impose

  expansive restrictions on their ability to work in the future through injunctive relief, and perhaps

  most importantly has asserted RICO claims against defendants and is coordinating with the U.S.

  Attorney’s Office in the hope that the Defendants will be indicted for the very conduct at issue in

  the action. In fact, on September 30, 2020, Amazon gave a presentation to the U.S. Attorney’s

  Office on the very policies and language Mr. Nelson is in part seeking this deposition to discuss,

  demonstrating the significance of the issue. See Smart Decl. Ex. A.

            However, Amazon contends with all of these factors at play, with no actual explanation to

  why it is burdensome for an HR officer to be deposed in a case it filed in which it is bringing




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  claims under its non-compete agreements and internal Amazon employee polices, the Court should

  bar the deposition as “unduly burdensome.”

            Further, the Court should reject Amazon’s burdensomeness argument out of hand. All

  Amazon has done is made general assertion that the single deposition would be burdensome

  without any support or evidence. This is flatly insufficient. See Douty v. Rubenstein, No. CIV.A.

  2:13-32832, 2015 WL 4163093, at *6 (S.D.W. Va. July 9, 2015) (to prevail upon an objection of

  burdensomeness, “the objecting party must demonstrate how the request is burdensome by

  submitting affidavits or other evidence revealing the nature of the burden.”); Futreal v. Ringle, No.

  7:18-CV-00029-FL, 2019 WL 137587, at *10 (E.D.N.C. Jan. 8, 2019) (same).

            Amazon attempts to distract from these obvious shortcomings in its argument by asserting

  that the deposition should be precluded due to an alleged admission by Mr. Nelson to some of the

  conduct alleged in the complaint—i.e. that he has purportedly admitted he took “kickbacks” or as

  Amazon defines that term in its complaint, “bribes.” Amazon’s erroneous factual assertion is the

  subject of a separate motion to strike.2 However, at core, Amazon is arguing that Mr. Nelson should

  not have discovery because it believes his defense of the case lacks merit. This is antithetical to

  the concept of discovery, which allows a party to build its case prior to an actual determination by

  a factfinder. See Givens v. Smith, No. 5:12CV145 STAMP, 2014 WL 1393181, at *8 (N.D.W. Va.

  Apr. 9, 2014) (“However, Defendant cites no case law, nor has the Court found any, allowing one

  party to refuse to be deposed because he believes the other party's case is weak.”). Accordingly,




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             Amazon’s only citation is to its own allegations in its third amended complaint, which allegations have been
  strenuously denied by Mr. Nelson, and Amazon’s related motion for leave to file such complaint, which Mr. Nelson
  opposed. A party’s unsworn allegations, unless admitted, are not evidence and provide no support for Amazon’s
  assertions. See United States v. White, 366 F. 3d 291, 300 (4th Cir. 2004).


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  aside from the fallacious nature of Amazon’s assertion, it would have no bearing on Mr. Nelson’s

  ability to take this relevant discovery.

  C.        Amazon is not entitled to use the existence of a 30(b)(6) deposition to bar an individual
            deposition.

            1.     An individual deposition is just one of many tools a party may properly employ
                   to take discovery and an opposing party may not select the one it prefers.

            Rule 30(b)(6) expressly notes that it “does not preclude a deposition by any other procedure

  allowed by [the] rules.” See In re Outsidewall Tire Litig., 267 F.R.D. 466, 472 (E.D. Va. 2010)

  (“It is well settled that the Rule 30(b)(6) deposition mechanism was implemented to supplement

  the Rule 30(a)(1) deposition of the officer or managing agent of a corporate party, and not to

  replace it.”); Doe v. 1031 S. Wooster Ltd., No. 21-80873-CIV, 2022 WL 121038, at *3 (S.D. Fla.

  Jan. 13, 2022) (“A party may use both types of discovery when attempting to elicit information

  about a corporation.”); Doe v. Trump, 329 F.R.D. 262, 274 (W.D. Wash. 2018) (“Thus, Plaintiffs

  are entitled to seek both types of discovery from Defendants, and the court does not consider these

  forms of discovery ‘duplicative’ even if they address similar or overlapping subject matters.”).

            An individual deposition and a 30(b)(6) deposition serve different purposes and the

  existence of one does not preclude the other even when it may involve employees or

  representatives who have some overlapping knowledge. See Prasad v. George Washington Univ.,

  325 F.R.D. 1, 5-6 (D.D.C. 2018); Martin v. Bimbo Foods Bakeries Distribution, LLC, 313 F.R.D.

  1, 8-9 (E.D.N.C. 2016). This would be the case even if an HR employee with such knowledge was

  one of the designees of Amazon at the upcoming 30(b)(6). See Caraustar Indus., Inc. v. N. Georgia

  Converting, Inc., No. 3:04CV187-H, 2006 WL 8456292, at *2 (W.D.N.C. Mar. 22, 2006); Hilton

  Hotels Corp. v. Dunnet, No. 00-2852, 2002 WL 1482543, at *2 (W.D. Tenn. Mar. 15, 2002). Of

  course, there is no indication there will even be such a designee from Amazon. Rather it appears



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  it be a hand-picked designee with no innate HR knowledge, who will have limited ability to discuss

  anything beyond what counsel has prepared them to discuss, severely limiting follow-up

  questioning of that witness, a key interest and feature of an individual deposition. In distinguishing

  a party’s ability to notice an individual officer or employee apart from the 30(b)(6) designee one

  court explained: “‘[T]he opposing party may feel that a particular person in the corporation has

  better knowledge or, for some other reason, may wish to depose a particular person in the

  corporation.’ Rule 30(b)(1) permits this.” Wood v. TRG Constr., Inc., No. CV WGC-07-1172,

  2007 WL 9782598, at *3 (D. Md. Sept. 27, 2007) (citing Folwell v. Hernandez, 210 F.R.D. 169,

  172 (M.D.N.C. 2002)). Amazon cannot block the deposition simply because it would prefer

  someone not from the HR department to testify about matters concerning the non-compete

  agreement and internal employee policies.

            The cases Amazon cites do not change this outcome. In re C.R. Bard, Inc. Pelvic Repair

  Sys. Prod. Liab. Litig., No. 2:10-CV-01224, 2013 WL 1722998, at *1 (S.D.W. Va. Apr. 22, 2013),

  actually supports allowing the deposition to proceed. That case involved multiple 30(b)(6)

  depositions of the same person and a situation where the court allowed a party to designate certain

  testimony as that of the corporation to avoid a deposition. Here Mr. Nelson is not seeking a

  30(b)(6) deposition, but rather the personal deposition of an HR employee, Ms. Galetti, and not

  from anyone who has testified previously. Virginia Dep’t of Corr. v. Jordan, 921 F.3d 180 (4th

  Cir. 2019) concerned whether inmates3 could take a 30(b)(6) deposition in the face of document

  productions that provided all the information they needed. Again, Mr. Nelson is seeking Ms.

  Galetti’s individual deposition, and further, it is indisputable that Amazon’s document production



            3
              As the Court is aware there are typically more significant restrictions on inmates ability to take depositions
  in civil cases.


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  has provided all of the necessary information. Finally, in Nicholas v. Wyndham Int’l, Inc., 373 F.

  3d 537 (4th Cir. 2004), the Court found it was not an abuse of discretion to bar a 30(b)(6) deposition

  where the two people to be designated had already been deposed and the topics related to the

  documents already produced. Here, neither Ms. Galetti, nor any HR representative has been

  deposed and the documents produced do not provide the information sought.

            Accordingly, the Court should decline Amazon’s attempt to tightly control the method and

  ability of Mr. Nelson to access discoverable information concerning defense to claims Amazon

  has asserted against him based on the non-compete agreement and the alleged breach of internal

  Amazon employee polices.

            2.      The information Mr. Nelson seeks via the individual deposition will not be
                    provided at the 30(b)(6).

            Even if the Court were to take a step-by-step look into the overlap of the information

  Amazon has agreed to provide at the 30(b)(6), they are not congruent. Amazon has not agreed to

  prepare a witness to address all of the matters Mr. Nelson wishes to inquire of Ms. Galetti. For

  example, Amazon’s prior application of its relevant policies and its non-compete agreements is

  highly relevant to an understanding of the meaning of its terms. Amazon has refused to prepare a

  witness on such topics, and has indicated that it does not intend to prepare a witness on Amazon’s

  understanding of the meaning of the terms of the relevant polices and non-compete or testimony

  that would bear on that understanding.4 See Doc. 954 at n.2.


            4
             Amazon also cites to other “senior Amazon witnesses” Mr. Nelson has already deposed in this case to assert
  this deposition would be duplicative. The testimony of those witnesses shows exactly why this deposition is needed.
  As to Mr. Doden, the topics at issue in that deposition had to do with what Amazon knew about Mr. Atherton’s
  involvement in the conduct at issue—nothing to do with Amazon’s internal employee policies or the non-compete
  agreements at issue. As to the other “senior executives” there is no indication they have any expertise about the topics
  relating to the non-compete and internal Amazon polices.4 Mr. Klein did not even know the name of the non-compete
  agreement or whether it was one or more than one document. See Ex. C to Smart Decl. at 91. When asked about the
  code of conduct, Mr. Klein, had no idea if he had ever signed one and after stating he did annual trainings, he admitted
  he had no recollection of what the code of conduct requires as to conflicts of interest, and that he would go to others
  at Amazon if he had questions. See id. at 91-92. As to Mr. Vonderhaar, whose title is Vice President of Data Center

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             While the ultimate determination of the meaning of the terms of the various polices and

   contract are ultimately a question for the factfinder, Amazon’s understanding of them and its past

   application of those policies and contracts are highly relevant to making that determination—

   particularly whereas here some of the relevant terms are exceedingly broad and ambiguous, e.g.

   “best interests of Amazon”5, “competitive with or otherwise deleterious to the interests of

   [Amazon]”, and “substantially the same as a product or service provided or offered by [Amazon]

   to a Target Market.” Doc. 765 ¶¶ 86, 324, 328, 526. The Garrison Prop & Cas. Ins. Co. v.

   Rickborn, 2016 WL 9649869 (D.S.C. Oct. 11, 2016) decision cited by Amazon actually supports

   allowing the deposition. In that case the plaintiff acknowledged that if the contract itself was

   ambiguous he lost, meaning there was no need to engage in any discovery concerning the meaning

   of terms in the agreement beyond their face. Here that is not the situation. Rather Amazon seeks

   to enforce extremely ambiguous terms, the meaning of which is hotly contested. Amazon also now

   contends that the code of conduct, containing this “best interests of Amazon” language—a

   document which is an internal policy document that Amazon regularly, and unilaterally updates,

   and which it does not execute— is a contract with its employees. See Ex. A (referencing the code

   of conduct); Ex. B to Smart Decl. (RFA Response 1 – refusing to admit the Code of conduct is not


   Planning, he expressly stated that the Code of Conduct is “assembled and reviewed through our HR team and our
   senior executives . . .”—affirming the need to depose an HR employee in this case. See Ex. D to Smart Decl. at 337-
   38. He also noted that while he was familiar with Amazon’s code of conduct generally, in many instances we was
   “not aware of the specifics.” See, e.g., id. at 50-51 (noting he is “not aware of the specifics” of Amazon’s code of
   conduct as it relates to gifts so he could not testify about what was in place in 2018), 56-57 (noting he was not aware
   of any Amazon employee who was disciplined for violating Amazon’s gift policy). When asked about various specific
   instances of enforcement of these policies, Mr. Vonderhaar in most instances knew nothing about them or was aware
   only vaguely through gossip at Amazon. See id. at 54-57. In short, minimal snippets of information from individuals
   who are not expected to know and do not know the details of the policies and employment agreements at issue in this
   case cannot substitute for testimony by an HR employee who is expected to have much greater discoverable
   knowledge.

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            The NLRB has previously charged Amazon of having overly broad rules citing this very phrase in its polices
   as the basis for that charge. See https://www.seattletimes.com/business/amazon-nlrb-settle-workersrsquo-rights-
   complaint/


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   a contract). Where Amazon has previously asserted that its internal policies are not contracts with

   its employees when seeking to avoid their application against it, see, e.g., Missouri v. Amazon.com,

   Inc., No. CV 19-13525(RMB/JS), 2020 WL 401842, at *3 (D.N.J. Jan. 24, 2020), this is a further

   reason to allow the deposition of its HR officer.

             In DiPippa v. Edible Brands, LLC, No. 3:20CV01434(MPS), 2021 WL 2201194, at *6-*7

   (D. Conn. June 1, 2021) the court noted that the circumstances surrounding and reasons given for

   the terminations of other executives by the defendant may clarify the meaning of the terms “cause,”

   “gross negligence[,]” and “material misconduct” in plaintiff’s employment agreement. The Court

   reached this conclusion relying on Bertrand v. Yale Univ., No. 3:15CV01128(WWE)(JGM), 2016

   WL 2743489 (D. Conn. May 11, 2016), where the district court explained that because

   “[p]laintiff’s employment agreement defines a termination for cause as involving ... [a] ‘material

   violation[,]’ ” of certain rules but does not “define what behavior will be considered a ‘material

   violation’ ... information regarding similar violations committed by” other coaches and the

   University's “response to these violations[ ] is relevant to determine if plaintiff's behavior rose to

   the level of a ‘material violation.’” DiPippa, 2021 WL 2201194, at *6-*7 (quoting Bertrand, 2016

   WL 2743489, at *3).

             Where the term “best interests of Amazon” and other terms like those identified above are

   not defined and leave significant room for interpretation and manipulation by Amazon, discovery

   concerning its previous application of those provisions is discoverable and highly relevant to

   Amazon’s claims against Mr. Nelson. See also Incomm Holdings, Inc. v. Great Am. Ins. Co., No.

   1:15-CV-2671 -WSD, 2016 WL 1213232, at *3 (N.D. Ga. Mar. 23, 2016) (holding reasoning of a

   company in not pursuing a prior claim under an agreement are relevant to its understanding of the

   meaning of the terms of the agreement); Del Monte Fresh Produce B.V. v. Ace Am. Ins. Co., No.



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   00-4792-CIV, 2002 WL 34702176, at *3 (S.D. Fla. Sept. 4, 2002) (noting “it is more than the

   terms themselves which may or may not be ambiguous. It is how they interrelate with one another,

   and how the company has interpreted those provisions and interrelationships in the past which

   calls for discovery.”); Trilegiant Corp. v. Sitel Corp., 272 F.R.D. 360, 364–65 (S.D.N.Y. 2010)

   (“anything that might further the interpretation of that provision—including information on other

   contracts, SOWs, and manuals utilized by Trilegiant in other transactions—is relevant and subject

   to discovery”); Elite Mitigation Servs., LLC v. Westchester Surplus Lines Ins. Co., No. 5:19-CV-

   381-TKW/MJF, 2020 WL 6126886, at *4-*5 (N.D. Fla. Apr. 16, 2020) (“plaintiff must be allowed

   to explore the creation of the language and whether the intent of the drafter(s) is inconsistent with

   its application’); Leichtnam v. Am. Zurich Ins. Co., No. 5:15-CV-05012-JLV, 2018 WL 4701353,

   at *6–7 (D.S.D. Sept. 30, 2018) (noting information relating to prior claims processing under the

   same policy at issue would be discoverable, as would testimony concerning the insurer’s

   interpretation of its claims manual and other polices and protocols).

             Because Amazon intends to rely on numerous ambiguous and vague provision in its non-

   compete agreements and internal employee polices to obtain relief against Mr. Nelson, he is

   entitled to broad discovery from Amazon that would reflect upon the meaning to be provided to

   those terms through the means he has chosen.6




             6
               Amazon has spent significant time inquiring of Defendants Nelson, Kirschner and Watson’s understanding
   of the policies and non-compete agreements at issue in this case at all of their depositions. See, e.g., Doc. 876 at 30-
   39 (inquiring as to Mr. Nelson’s understanding of the code of conduct and related provisions). When Amazon spends
   extensive time asking Defendants of their understanding and interpretation of these polices and agreements it should
   not be permitted to contend that evidence relating to the understanding of those tasked at Amazon with enforcing these
   policies are not discoverable.


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   D.        Conclusion

             For the forgoing reasons the Court should deny Amazon’s motion for a protective order

   and order that Mr. Nelson be allowed to proceed with the deposition of Ms. Galetti. 7

             September 1, 2022                           BURR & FORMAN LLP

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               In an attempt to avoid a dispute, Mr. Nelson offered from the very beginning to depose someone other than
   Ms. Galetti if they would generally have the same knowledge of the HR matters about which Mr. Nelson wished to
   depose Ms. Galetti. See Doc. 955-2. For inexplicable reasons Amazon contends that Mr. Nelson only did this as a
   belated attempt to salvage the deposition after a dispute arose. See Doc. 954 at 10. That Amazon apparently objects to
   this approach is surprising given it is the very approach Gibson Dunn and Amazon advocated just a few months ago
   case where Amazon asked the Court to require the plaintiff to seek the depositions of lower level employees first. See
   Gordwin v. Amazon.com Inc., No. CV-21-00888-PHX-SPL (D. Ariz.) (Doc. 53 at 6) (“Ms. Gordwin should pursue
   the depositions of lower-level employees first . . .”). It was because of Defendants awareness of Amazon’s position in
   that case and the prior disputes here, that it offered from the outset to follow that approach if Amazon had objections
   to Ms. Galetti being deposed. But, here Amazon simply refuses to have anyone in the HR department deposed, rather
   than follow what has previously advocated was a reasonable and fair procedure in these circumstances. Given
   Amazon’s refusal to even consider an alternative witness before filing this motion it seems incongruous to allow them
   to now avoid Ms. Galetti’s deposition by proposing such a witness unless there are assurances that the witness will
   have sufficient knowledge to be an appropriate substitute for Ms. Galetti.


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                                     CERTIFICATE OF SERVICE

             I hereby certify that on September 1, 2022, a true and correct copy of the foregoing has

   been served upon the following via email:

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             Dated: September 1, 2022                           /s/ Rachel Friedman
                                                                Rachel Friedman




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